Case 2:04-cr-20241-.]DB Document 91 Filed 06/22/05 Page 1 of 2 Page|D 90

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IN THE UNrrED STATES DISTRlCT COURT nw {}'¥l/\C
FOR THE WESTERN DISTRICT oF TENNESSEE ,
WESTERN DIVISION 05 JUN 22 PM 3‘ 35
:‘5‘_'-, `_, ; '..- r~»z ‘mr';i in
CL§'.i"'i:`,'~/ti U.S. DiST. CT.

,: t Q
UNITED S'I`A'I`ES OF AMERICA - W-U ‘5"'~ TN» MEMPHL--

v.
04-20241-02-B
JAMES SCRUGGS

 

ORDER ON ARRAIGNMENT
Sugersediog Indictment

 

This cause came to be heard on , the United States Attorney
for this district app cared on behalf of the vernment, and the defendant appeared in person and with
counsel:

NAME who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

z/

The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

M

UNTTED STATES MAGISTRATE IUDGE

 

CHARGES: 18:1341 & 3147(1);

U. S. Attorney assigned to Case: C. McMullen

Age:j§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
case 2:04-CR-20241 was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

